Case: 4:20-cv-00317-SEP Doc. #: 166 Filed: 06/19/20 Page: 1 of 2 PageID #: 17482


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

FEDERAL TRADE COMMISSION,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )          Case No. 4:20-cv-00317-SEP
                                                  )
PEABODY ENERGY CORPORATION                        )
                                                  )
and                                               )
                                                  )
ARCH COAL, INC.,                                  )
                                                  )
       Defendants.                                )

                             ORDER RELATING TO HEARING

        This action is set for a ten-day preliminary injunction hearing beginning on July 13,
2020, at 9 AM CT. In addition to the deadlines set out in the Joint Stipulated Modified Case
Management and Scheduling Order (“CMO”), Doc. [131], the following schedule shall apply in
this case and will be modified only upon a showing of exceptional circumstances:

       No later than 5 PM CT on Monday, July 6, 2020, the parties shall submit the following:

        1.     Stipulation: A joint stipulation of all uncontested facts, which may be submitted
into evidence subject to any objections of any party set forth in said stipulation.

       2.      Witnesses:

               (a)   The parties’ Final Witness Lists, as defined in CMO ¶ 15(c), identifying
those witnesses who will be called to testify and those who may be called.

               (b)      Except for good cause shown, no party will be permitted to call any
witnesses not listed in compliance with this Order.

       3.      Exhibits:

               (a)     Final Exhibit Lists, as dictated by CMO ¶ 35, with all exhibits to be
offered in evidence at the trial marked for identification (Plaintiff to use Arabic numerals and
Defendants to use letters, e.g., Plt.-1, Def. Peabody-A, Def. Arch-A, etc.).

                                                 1
Case: 4:20-cv-00317-SEP Doc. #: 166 Filed: 06/19/20 Page: 2 of 2 PageID #: 17483


                (b)     Except for good cause shown, no party will be permitted to offer any
exhibits not identified or not submitted by said party for examination by opposing counsel in
compliance with this Order.

       4.      Depositions, Interrogatory Answers, and Request for Admissions:

                (a)     A list of all interrogatory answers or parts thereof and depositions* or
parts thereof (identified by page and line numbers), and answers to requests for admissions
proposed to be offered in evidence. Opposing counsel shall state in writing any objections to
such testimony and shall identify any additional portions of such depositions not listed by the
offering party which opposing counsel proposes to offer no later than 5 PM CT on Wednesday,
July 8, 2020.

                *Per CMO ¶ 16(e), the parties plan to devise an alternative to designation for
transcripts of investigational hearings and depositions. If they do, they may modify this
designation requirement as applied to those materials, as long as they provide the Court with an
accounting of which deposition and hearing transcripts they intend to submit into evidence by no
later than 5 PM CT on Monday, July 6, 2020. They may also address objections to such
materials by a method of their own devising, as contemplated by CMO ¶ 16(e), provided that all
such objections have been addressed before the parties provide an accounting to the Court
pursuant to this Order. Any objections that have not been so resolved should be submitted as
required in the foregoing paragraph.

               (b)    Except for good cause shown, no party will be permitted to offer any
interrogatory answer, or deposition or part thereof, or answer to a request for admissions not
listed in compliance with this Order. Any objections not made as above required may be
considered waived.

       5.      Trial Brief: Submit to the Court and opposing counsel a trial brief of no longer
than five (5) pages describing in brief any anticipated evidentiary or procedural problems.

       Failure to comply with any part of this order may result in the imposition of sanctions.



Dated this 19th day of June, 2020.




                                                 SARAH E. PITLYK
                                                 UNITED STATES DISTRICT JUDGE




                                                 2
